05-44481-rdd           Doc 9656             Filed 09/27/07 Entered 09/27/07 17:33:47                                        Main Document
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   (12/04)



                                            United States Bankruptcy Court

                                                 Southern District of New York

   In re DELPHI CORPORATION, et al.                                                             Case No. 05-44481 (RDD)
             Delphi Automotive Systems, LLC                                                      Jointly Administered

                                                                           Court ID (Court use only) ____________

                NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. 1111(a). Transferee hereby gives notice pursuant to
   Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this notice.

   Debt Acquisition Company of America V, LLC                            AUTOTUBE LIMITED EFT
   Name of Transferee                                                    Name of Transferor

   Name and Address where notices to transferee should be sent           Court Record Address of Transferor
                                                                         (Court Use Only)
   Debt Acquisition Company of America V, LLC
   Attn: Tom Scheidt
   1565 Hotel Circle South, Suite 310
   San Diego, CA 92108

   Phone: (619) 220-8900
   Last Four Digits of Acct #:                                           Last Four Digits of Acct. #:

   Name and Address where transferee payments                            Name and Current Address of Transferor
   Should be sent (if different from above)
                                                                         AUTOTUBE LIMITED EFT
                                                                         300 HIGH STREET E
                                                                         STRATHROY ONTARIO N7G4C5

   Phone: Same as Above                                                  Phone:

   Last Four Digits of Acct. #:                                          Last Four Digits of Acct. #:

   Court Claim # (If known): 2117
   Claim Amount: $4,372.36
   Date Claim Filed:

   I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and
   belief.




   By:                                                                   Date: September 27, 2007
           Transferee/Transferee’s Agent

   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. 152 &3571.


                                            DEADLINE TO OBJECT TO TRANSFER
   The transferor of claim named above is advised that this Notice of Transfer of Claim Other Than for Security has been filed in the
   clerk’s office of this court as evidence of the transfer. Objections must be filed with the court within twenty (20) days of the mailing
   of this notice. If no objection is timely received by the court, the transferee will be substituted as the original claimant without further
   order of the court.


   Date:                                                                 _______________________
                                                                         CLERK OF THE COURT
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05-44481-rdd           Doc 9656             Filed 09/27/07 Entered 09/27/07 17:33:47                                        Main Document
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   (12/04)



                                            United States Bankruptcy Court

                                                 Southern District of New York

   In re DELPHI CORPORATION, et al.                                                               Case No. 05-44481 (RDD)
                  Delphi Automotive Systems LLC                                                   Jointly Administered

                                                                           Court ID (Court use only) ____________

                NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. 1111(a). Transferee hereby gives notice pursuant to
   Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim referenced in this notice.

   Debt Acquisition Company of America V, LLC                            MOSIER FLUID POWER OF IND
   Name of Transferee                                                    Name of Transferor

   Name and Address where notices to transferee should be sent           Court Record Address of Transferor
                                                                         (Court Use Only)
   Debt Acquisition Company of America V, LLC
   Attn: Tom Scheidt
   1565 Hotel Circle South, Suite 310
   San Diego, CA 92108

   Phone: (619) 220-8900
   Last Four Digits of Acct #:                                           Last Four Digits of Acct. #:

   Name and Address where transferee payments                            Name and Current Address of Transferor
   Should be sent (if different from above)
                                                                         MOSIER FLUID POWER OF IND
                                                                         9851 PARK DAVIS DR
                                                                         INDIANAPOLIS IN 46235-2393

   Phone: Same as Above                                                  Phone:

   Last Four Digits of Acct. #:                                          Last Four Digits of Acct. #:

   Court Claim # (If known): 3873
   Claim Amount: $919.48
   Date Claim Filed:

   I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge and
   belief.




   By:                                                                   Date: September 27, 2007
           Transferee/Transferee’s Agent

   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. 152 &3571.


                                            DEADLINE TO OBJECT TO TRANSFER
   The transferor of claim named above is advised that this Notice of Transfer of Claim Other Than for Security has been filed in the
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   order of the court.


   Date:                                                                 _______________________
                                                                         CLERK OF THE COURT
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